                           Case 1:20-cr-01532-MV Document 18 Filed 08/13/20 Page 1 of 1

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                    United States of America
                               v.                           CLEffiAg/flJffilJ[       r"n
                                                                     )         Case No.    ,0.*-L5-32-lfiY
                          PHILLIP CHACON                             )
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                                                                     )
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                                 Delendant


                                                          ARREST WARRANT
To:     Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before                    a United Stat€s magistrate judge   without unnecessary delay
(name ofperson to be ane^sted) PHILLIP CHACON

who is accused of an offense or violation based on the following document filed with the court:

d lodi.t .ot                    O   Superseding   Indictment 0 Infonnation O Superseding Information O Cotrylaint
O ProbationViolationPetition 0 SupervisedReleaseViolationPetition OViolationNotice O OrderoftheCourt
This offense is briefly described as follows:
 Count 1 : 18 U.S.C. SS 922fi) and 924 Possession of a Stolen Firearm




Date:          07t29t2020


City and   state:        Albuquerque, New Mexico                         hf             Mitchefl R. Etfers, Clerk of Couil
                                                                                               Prlnted name and tttle




        This wanant was received on               ,oo,r, 7/3of X>o        , tmd the person was arrested on   faarel 8 / t" /;c.,:r<r
